Exhibit 15
 Witness Statement of Benjamin Steinmetz




      IN THE MATTER OF AN ARBITRATION UNDER THE ARBITRATION RULES OF
              THE LONDON INTERNATIONAL COURT OF ARBITRATION

                                             CASE NO 142683

                                                 BETWEEN




                                                 VALE S.A.

                                                 (Claimant)



                                                     and



                                       BSG RESOURCES LIMITED

                                                (Respondent)




                                            Witness Statement

                                         BENJAMIN STEINMETZ




I, BENJAMIN STEINMETZ, will say as follows:

 I.           I want t o m ake a number of matters clear at the beginning of this statement, which I will
              expand upon later.


2.            First , neith er I nor any of the businesses with wh ich I am associated have, to my
              knowledge, or at my direction been invo lved in any corruption, bribery o r other criminal
              activities.




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 3.            As to the G uinea/Simandou project, however, I can be absolutely certain.        Neither I nor
               anyone associated w ith BSG Resources Limited (BSGR) is, was or has been involved in any
               type of un lawful or criminal activity. The reasons I can say this with such confidence are:


                   a.   Insofar as any of the allegations concern things I am supposed to have done, they are
                        untrue.


                   b.   Insofar as the allegations concern matters others are said to have done, the Balda
                        Foundation and BSGR have instigated the widest possible enquiries within the BSG
                        businesses by leading investigators who have had the fullest access to every
                        document and person in the organisation and who have concluded that there has
                        been no wrongdoing. I have fu lly supported these investigations.


                  c.    In contrast w ith the manufactured evidence used to deprive VBG of its rights, what
                        really happened- a conspiracy to extort money from BSGR or to steal VBG's rights,
                        based on the obligations created du ring President Conde's e lection campaign in 20 I0
                        - has been fully and convincingly establ ished, without rebuttal.


 4.            Second, the certification I signed on 9 April 20 I0 was true when I signed and remains true
               today.


 5.            Th ird, when Mr Cilins travelled to the United States in 20 12 to meet with Mamadie T cure,
               he was not travell ing at my or BSGR's behest, with either of our authority or on either of
               our behalves.


      A. BACKGROUND

6.             I am a beneficiary of a Lichtenstein foundation called Balda. Balda indirectly owns a group
               of companies whose businesses focus on resources, diamonds and real estate. BSGR is the
               part of t hat group of companies and owns all the resources projects. Whilst there is no
               legal entity called the 'BSG group', or indeed any group of companies which share BSG in
               their names, for the purposes of this statement when referring to the overall business
               interests of the group I shall refer to the 'BSG group'. I have no role on the board or as an
               employee of any of the BSG companies or of the Balda Foundation. I am, however,
               contracted to advise the individ ual compan ies that make up the BSG group, and it is in this
               capacity that I am involved in their businesses: every action I took in relation to the Guinean
               project which is t he focus of this statement, I took in my role as adviser to BSGR. I deal
               with my role in BSGR in more detail below.




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 7.            I have been in business for many years. After my national service in Israel, instead of going

               to university, I immediately went into the diamond business, living in Antwerp and built a
               business into an international global leader in the diamond business. It became the largest

               De Beers siteholder and one of the biggest multinational diamond companies in the world .
               Since then I have been involved in a many different businesses, both large and small. At the

               beginning of the 1990s I developed an interest in real estate. In the mid 1990s we co-

               founded a hedge fund called Her mitage as part of a joint venture with Republic National
               Bank (later HSBC) and Bill Browder which was focussed on investing in Russian companies.

               Hermitage became a big foreign investor in Russia and performed remarkably well. We also
               started to become interested in the mining industry and became the major shareholder in

               Anglovaal Mining in South Africa. We soon expanded to other mining projects, investing
               across Africa and in exploration projects throughout the world in a variety of commodities
               including copper, cobalt, gold, iron ore, manganese, nickel and diamonds. In 2003, these
               natural resource projects were consolidated into one company, BSGR. BSGR acquired

               Bateman Engineering, a South African engineering company, which later split into two:

               Bateman Engineering and Bateman Litwin. Following a successfu l turnaround and increased

               revenue, Bateman Engineering was listed on AIM in 2005 followed by Bateman Litwin in

               2006, both raising millions of dollars.


8.             In 2004, BSGR further expanded its business to mining and upstream production facilities in
               Macedonia and Kosovo through the purchase of Cunico Resources ("Cunico") and the
               refurbishment of ferro-nickel production facilities. Cunico is now one of the largest ferro-
               nickel manufacturers in the world. BSGR also invested in steel production in Azerbaijan, oil

               and power plants in Russia and Nigeria and solar renewable energy in South Africa. During
               the same period the BSG group of companies expanded to include real estate investment

               and other private equity investment companies. The BSG group now operates in more than

               20 countries worldwide.


9.             In addition to advising the BSG group companies, I also own Scorpio (BSG) Limited which is

               a company with a group of subsidiaries whose businesses are in real estate ("Scorpio"). I
               acquired Scorpio in the late 1990s and the group has been active as a developer in the
               Central and Eastern European markets ever since. Scorpio specialises in mid to large real-
               estate development projects for residential, office and retail use. The business has suffered
               recently in the global downturn and continues to face difficulties caused by the lack of

               liquidity for East European r eal estate.




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 I0 .          I also chair, jo in tly w ith my wife, t he Agnes & Beny Steinmetz Foundat ion (the
               "Foundation"), w hich is one of the largest phi lanthro pic organisat ions in Israel. T he
               Foundatio n was fou nded in 2006 and specialises in youth e ducation, w elfare programmes,
               and health ca re. Since it has been in ope ratio n it has given tho usands of children a cha nce of
               a better life. My w ife and I be lieve that the pri mary years are critical to the developme nt
               and healt h of each chi ld and, acco rdingly, t he Fo undation's main focus is the improveme nt o f
               early childhood services in Israel. The Foundation wo r ks in partne rship w ith municipa lities
               in the est abl ishme nt and o pe ratio n o f about 20 early childhood centres nationwide. T o
               date, mo re t han 50,000 childre n and their pare nts have benefitted from the professional
               services in t hese ce ntres. In addit io n, the work of t hese cent res has become a model for
               t he govern ment and other municipalities in how to structu re services for early childhood.
               The Fo undatio n also annually supports 25 o rganisations t hat wo r k w ith youth at risk, as
               res ult of w hich mo re than 8,000 young peopl e have had t he opportun ity to enjoy a variety
               of activities and gained a chance to return to a more normal life.


 I I.          Fo r ma ny years the Fo undatio n has suppo rted after-school activi ties for yo ung childre n in
               the city of Ne tanya. Every yea r, over ISO childre n enjoy a hot meal, help w ith thei r
               ho mewor k and e nrichment activities afte r school. The Foundatio n also grants 125
               scho larships each year to students at Ne tanya College. To date, over I,000 students have
               received these scho larships, w hich also requi re the students to take par t in vo lunteering
               act ivi ties and to give back to t he ir co mmun ity. Since its establishment the Fo undatio n has
               also supported many other o rganisat io ns and programs in the areas of health, welfare,
               culture and ed ucat ion.


 12.           T he Unive rsity of Netanya awarde d my w ife and me ho no rary doctorates fo r o ur cha rity
               wo r k. In additio n, I am a di rector and supporter of the Te l Aviv Museum of Art. We also
               support many causes e lsewhere in the world, especially in Africa w he re th e focus is also o n
               yo uth e ducatio n and health particularly thro ugh BSGR's projects.


 13.           I have always tried t o keep a low profile. I am driven and wor k very hard but I value my
               privacy and have never in a ny of my business o r philanthropic endeavours sought to draw
               attentio n to myself. T hat is w hy, befo re t he issues t hat are the subject of th is case came to
               light, th ere was very little w ritten abo ut me o n the internet or elsewhere. I and t he BSG
               companies I advise have enjoyed flawless reputations, t he businesses have always been
               courted by banks and financial institutio ns and the companies have a list of partners that any
               o rganisation would be pro ud of.




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 14.           For these reasons. the events of the last few years have been especially difficult. Not only
               have I disliked the attention immensely. but the e xtent of the false reporting and
               accusations has been shocking to me. In a well-orchestrated smear campaign. I have been
               accused of corruption, of funding attempted coups, of paying bribes to governme nt
               ministers and even of contributing to the outbreak of Ebola. As well as being upsetting for
               my family and those who work in th e BSG gro up, t he effect of this campaign has been to
               rob some of the poorest people o n the planet of an o pportunity to transform their lives -
               an opportunity that may not return in the foreseeable future or ever. It is a terrible pity
               that Vale decided to jump on the bandwagon.


 I 5.          The BSG group is a privately owned group of companies with interests across the globe in
               natural resou rces. real estate and the diamond industry. Over the last 35 years the group
               has established an impeccable reputation and impressive track record, operating in a fully
               transparent manner, working hand in hand with host governments at both the national and
               local level. Th e BSG group takes pride in its ability to build strong relationships with local
               communities and stakeholde rs in areas benefiting from its investments and operations.


 16.           BSGR, BSG gro up's natural resources company,          is an international diversified mining
               company which has had operations in 14 countries across metals and mining o perations in
               Africa and Eastern Europe. including ferro-nickel. diamonds, copper. iron ore and gold. The
               group has also been active in the production and exploration of oil and gas and power and
               engineering. BSGR has a 15 year track record of developing (as well as executing) mining
               operations, and has employed over 8,000 people whilst creating value and prosperity for its
               stakeholders and host countries.


 17.           It has been suggested that BSGR did not have the experience o r ped igree to have
               undertaken the Simandou project.      This is simply not t he case. Be low I set out a non-
               exhaustive summary of BSGR's ve ry extensive mining experience:


                       (a)       Since 2002.    BSGR has     invested more than USD 300           million   in
                                Sierra Leone developing the "Octea Diamond group".              The group's
                                flagship Ko idu Diamond Mine includes a processing plant producing
                                over 45,000 carats per month at end 2012, having effectively doubled
                                diamond exports from Sierra Leone for the next I5 years whi le having
                                concluded an exclusive off-take agreement with Tiffany & Co.             The
                                Octea Gro up employs I,700 permanent staff, of whom 90% are Sierra
                                Leoneans.      Octea's social commitments in Sierra Leone include a
                                community plan building 1,400 houses including a school for 3,000 pupils,



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                        cu ltural, sport and religious facilities. BSGR is also the largest private

                        investor and one of the largest taxpayers in Sierra Leone.


                (b)     BSGR, through a joint venture Cunico, owns an inter national ferro-nickel
                        mining and metals company, special izing in the exploration, mining and
                        manufacture       of ferro-n ickel.   Cunico   is   the   largest   ferro-nickel
                        manufacturer in Europe and the fourth largest in the world.          BSGR has

                        continuously invested in        equipment, technology and      production at

                        Cu nico's two plants raising capacity to a combined output of 30,000

                        tonnes   of ferro-n ickel per year.       Cunico     employs    2,500    people

                        throughout its mining and production operations and over 3,000 people

                        includ ing its contractors. In Kosovo and Macedonia, Cunico is proudly one

                        of the country's largest employers and taxpayers.


                (c)     Through its subsidiary, Arctic Resources, BSGR held a controlling stake in

                        Anglovaal Mining, a public company and one of the pillars of the South
                        African mining industry. Anglovaal Mining held extensive pr ecious metal,

                        base metal, ferrous metal and diamond interests across Southern Africa.

                        In 2003, BSGR sold its interest to a leading African mining group.


                (d)     In 2000, BSGR took a 20% strategic stake in the iron ore asset Kumba
                        and the steel producer lscor, in South Africa. BSGR, as the single biggest

                        shareholder, was the catalyst for the company being split in two. BSGR

                        was also both financially and technically involved in the development
                        stages of Kumba's iron ore, which laid the foundation for steady

                        production growth, wh ich later peaked at 36 million tonnes per annum.
                        BSGR sold its 20% strategic stake in Kumba to Anglo American in 2003.


                (e)     Between 2003 and 2007 BSGR held            13% of the capital of Danae

                        Resources, a listed Australian company focusing primarily on                the

                        development and exploration of gold projects.


                (f)     BSGR was a minority shareholder in Shore Gold, a Canadian diamond
                        mining project.


                (g)     Between 2003 and 20 II , BSGR owned a steel plant in Baku, Azerbaijan as
                        part of a joint venture.




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                 (h)      Between 2003 and 2009, BSGR owned and operated (through a joint

                         venture) Luanshya Copper Mines, which included the Baluba and Luanshya
                         copper mines, and Chambishi Metals, comprising a large cobalt and
                         copper smelter and solvent extraction located in the Zambian copperbelt.

                         The mines and smelter together employed a total of 6,000 people. BSGR
                         applied its techn ical expertise through Bateman Engineering to rehabil itate

                         Chambishi Metals to become one of the largest producers of cobalt in the
                         world.


                 (i)     BSGR invested in the copper mining industry in the Democratic Republic

                         of Congo in 2003 and 2004, and was one of the pioneering investors at

                         that time. It founded Nikanor Pic, which focused on exploration and

                         production of copper and cobalt. BSGR completed a definitive feas ibility

                         study and su bsequently listed Nikanor on the Alternative Investment

                         Market (AIM) in London in late 2006, achieving what was then the largest

                         capital raise on AIM. In 2008 Nikanor merged w ith Katanga Mining.
                         Katanga Mining is now controlled by Glencore and is one of the largest
                         scalable copper projects in the world, producing over 250,000 tonnes of

                         copper cathode.


                 (j)     Between 2007 and 2009, BSGR held a controlling stake in OEM Mining, a
                         mining contractor company in the DRC. OEM Mining operated a fleet of

                         more than 200 vehicles, consisting of loaders, shovels, excavators, haul

                         trucks, water bowsers and fuel trucks. The company employed over 800

                         people and had the capacity to excavate over 2 million tonnes per annum.


                 (k)     BSGR also had st rong engineering capabilities through its acquisition of
                         Bateman Engineering in 2002. As explained above, BSGR split the
                         company into Bateman Litwin and Bateman Engineering shortly after the

                         acquisition. Bateman Engineering was an engineering firm fou nded in 1919
                         in South Africa, which expanded globally over the last century and

                         specialized in processing solutions and engineering, procurement and

                         construction contracting for the mining, minerals and metals, oil and gas

                         and chemicals industries. The companies' expertise included state-of-the-
                         art   engineering,   lump-sum   turnkey   and   engineering,   procurement,
                         construction and management services over the complete project lifecycle

                        to convert natural resources such as iron ore, gold, copper and diamonds




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                                 as well as oil and gas into marketable products.           Furthermore, th e

                                 company tai lored services for new process plants and brownfield
                                 upgrades, covering a w ide range of commodities.           Those companies

                                 together employed over 3,000 employees and wer e focused on Africa and

                                 developi ng countries.       Bateman was active in over 25 countries and in

                                 20 12 was purchased by Ten ova. It remains one of the most prominent

                                 engineering companies in Africa.


 18.          In addition BSGR has evaluated and considered more than 120 prospective deals on four
              continents over the last decade, which has significantly increased its technical expertise in

              the mining and commodities industry. These included iron ore exploration projects in

              Liberia, Gabon, South Africa, Senegal, Zambia, Brazil and Chile. T hrough this, BSGR has
              built very strong in-house technical and execution teams which have a strong reputation for

              th eir capacity to execut e and to live up to their commitments. It is this repu tation that has

              attracted such a large deal flow and has meant that BSGR has dealt with, and continues to

              deal w ith , multinational companies, junior miners, investm ent banks and sovereign
              governments, some of w hom have approached us direct.


 19.          I have no formal r o le in the BSG group. I am not a director of any company. I am not a

              shareho lder.   The foundation was created in 1980 for family succession and governance
              r easons. I understand that this type of o rganisation is very common in similar busi nesses
              and I adhere to the forma lities very strictly. My only role is as an adviser, for w hich I am
              paid a flat rate advisory fee. W hile, th er efore, I take an interest in the operations of BSGR,

              I do not sit o n its board; I do not involve myself in the day to day minutiae of its operations;
              and I do not make any decisions on its behalf.           I am regularly consulted and I equally

              regularly offer my advice.     On most occasions, the giving of advice is a collaborative

              exercise and my comments are taken on board as part of a decision making exercise.
              Equally, on many occasions, what I have to say is listened to and then ignored. Sometimes, I

              am not consulted at all. The board of BSGR has independent obligations and takes those
              duties seriously. W hile not relevant to this dispute, the same system works in r elation to

              the other businesses in the BSG group.


20.           In my ro le as adviser, I concentrate on my strengths, one of which is the sourcing of

              transactions. I like a "deal" and am adept at finding opportunities that may be attractive to
              the group and fo llowing through on the processes t hat need to be undertaken from the

              inception of a possible deal to its completion. I am also involved in high level strategy
              discussions and o ne of my main contributions is in business development: I am able to play




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               an am bassadorial role for the BSG group companies by making high level connections with
               people and organisations that the BSG companies might work with. These are time
               consuming exercises and it mea ns that, wh ile I can work on several projects at any one
               time, many aspects of the operation of the group wi ll take place without any input from me
               at all.


 2 1.          T hat was the case with Guinea. The group had no presence there at all until the second
               half of 2005/early 2006 and, w hilst I wou ld have occasionally spoken to Roy Oron about
               w hat was going on, I had no real involvement once we had started there until 2008. Many,
               probably t he majority, of opportunities that the group looks at never emerge from the
               exploratory stage and I w ill have had little or no involvement with them at all.


 22.           So in the early days, therefore, I had virtually nothing to do with Guinea.


        B. BSG R'S INTRODUCTION TO GUINEA

 23.           Roy Oron, w ho was the Chief Executive Officer as well as a minority shareholder of BSGR,
               had been introduced to the country by Michael Noy and Avraham Lev Ran. Mr Oron was a
               talented, hands-on and focussed C EO and thought the Guinea opportunity was worthy of
               furt her exploration. He organised t he infrastr ucture required to take the project to the
               stage where we wou ld have to decide whether it was wise to invest and commit further.


 24.           I now know that Mr Oron was introduced to Guinea by Mr N oy and Mr Lev Ran. Whether
               I knew at the time, I can no longer recall. What I do know is that I never met any of the
               three shareholders in Pentler Holdings Limited ("Pentler") until 2008. They are not friends
               or long time business associates. The only connection at the time was that Mr Oren's and
               Mr Lev Ran's fami lies knew each other and when they (Pentler had not even been formed at
               the time, so it was the thre e men as individuals) wanted to introduce the Guinea
               opportunity to a group with mining experience, Mr Lev Ran contacted Mr Oron. All of this
               happened without any input from me.


25.            As did the start-up processes in Guinea. So, for example, Asher Avidan and Marcus Struik
               we re recru ited by Mr Oron witho ut my knowledge and without significant involvement
               from me - as was completely normal. I cannot now re member but it is likely that I would
               have known at the time that BSGR had applied for and received exploration licences for
               Simandou North and South. The progress of the project was left to the people on the
               ground in Guinea. I believe I learned about BSGR's bauxite permits in the latter half of 2007
               or in 2008. These were unsuccessful and were eventually re linquishe d. I pe rsonally never
               liked baux ite as a commodity and I also never liked these pe rmits as an opportunity: I



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               thought they were too geographically remote, would never be economically viable and
               therefore were not worth spending money on. I argued this point strongly. but the BSGR
               board and the company on the ground had made their own decisions in relation to these
               and the work went ahead.


    26.        The first time I visited Guinea was in February 2008. (I will return to this later as it is part
               of the evide nce that fundamentally and fatally undermines the material supplied by Ms
               Toure on which Vale still relies). I am a very frequent traveller. I have access to the Balda
               Foundation's jet in the performance of my rol e as an adviser, and I operate by ensuring I
               have face to face meetings and visit the physical locations of the various operations in
               executing my role as ambassador. I am "on the road" for well over half the year. Guinea
               was so far down the list of priorit ies until the beginning of 2008 that it did not merit a visit.


    27.        I am aware that Ahmed Tidiane Souare, who was Minister of Mines at the time, has said
               that he had a meeting with me in 2006 at which Simandou blocks I and 2 were discussed,
               and that Vale re lies on Mr Souare's account in its Statement of Case. 1 As above, I did not
               visit Guinea until 2008. I never met Mr Souare (or anyone e lse in Guinea) nor was I in
               touch with him in 2006 as he alleges. I may have met Mr Souare when I visited Guinea in
               2008, but have no recollection of this now.


    28.        During the latter half of 2007 I was more regu larly kept updated with what was going on on
               the ground in Guinea by Mr Avidan and Mr Struik. Although I have no recollection of this
               now, I can see from reviewing contemporaneous documents that I knew at the time that
               Rio Tinto was in dange r of losing its rights over Simandou blocks I and 2, and that BSGR
               was working hard to put itself in the best position to app ly for those rights s hould they have
               become available. Mr Avidan and Mr Struik were doing what they could to improve BSGR's
               position, including having discussions with re levant people abo ut BSGR, its track record and
               expe rience. I believe, from my memory of what was being told to me at the time by those
               on the ground, that the GoG was encouraging BSGR towards these blocks because they
               were keen to get a company into them which was both capable of, and likely to do, the
               work on the ground. As BSGR had completed a very significant amount of work in relation
               t o Simandou North and South and thus prove n its abilities and appetite for getti ng the work
               done, t he GoG was keen to try and replicate that with blocks I and 2. Indeed, I remember
               that when I did meet with President Conte, which must have been sometime after February
               2008, he said to me that very thing - that the GoG was keen to replicate the work on
               Zogota in blocks I and 2.


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    Statement of Case, dated 30 January 20 IS, para 143.



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 29.           By the begi nning of 2008 the area t hat has become known as Zogota and which had been a
               specu lative investme nt (it was earl y stage exploration which is known as greenfield
               exploration) now looked as if it may be real and merited my involvement. At the same ti me
               t he project was beginning to get very expensive. It was eating money and the directors of
               BSG R asked me to become more involved and to provide advice on the geopolitics of the
               country as well as the econom ics of the project.


 30.           Accordingly. I started visiti ng G uinea mo re often. I do not have a clear memory of t his time
               because it was a lo ng time ago, but I do remember having one, maybe two meetings w ith
               Preside nt Conte. I certainly remember meeting t he President once at his Presidential Palace
               - the meet ing took place o utside, unde r a tree and Mr Avidan was also present. T here
               were arou nd I 0 othe r people the re, but I did not know any of them. President Conte made
               a great play abo ut not being interested in money abo ut which I t hink he was sincere. He
               looked sick and tired. He chai n smoked and had terri bly swollen legs. (Later, I was told he
               was a diabetic). He told me t hat he was old and dying and that he wanted to do t he best fo r
               his country. He said t hat he wanted us to invest in the country and not behave like th e
               o the r big companies which talked big but did nothi ng.


 3 I.          As explai ned above, I very often perform an ambassadorial role for the group and this was
               t he case in relation to Guinea too.     As well, t he refore, as giving advice on commercial
               as pects o f the deal from 2008 o nwards I made myself available to meet senior stakeholders
               in th e project in Gu inea. T his was entirely natural. My commercial instincts told me that
               there was potential for a world class project w ith BSGR acting as the catalyst for its
               development. There were many precedents fo r such a deal: for instance, a company called
               Fortescue in Austral ia had shown that an entrep re neurial approach by a smaller company
               could yie ld o utstand ing results w ith t he right asset. T he project was important on both
               sides. For BSGR it re prese nted a very significant investment into which it was committing
               more and more money and corporate effort For Guinea it was potentially one of the largest
               min ing and infrastructure projects in its history: a project that had the potential, after
               decades of being unable to exploit its resources for the benefit of its people, to t ransform
               the fo rt unes of t he natio n. In any environme nt, w hether it be a developing economy or in
               a n advanced European nation, close contact between investor and government is to be
               expected and welcomed.


32.            It was in this context t hat, after his appo intment as Minister of Mines in early 2009, I struck
               up a working relatio nship with Mahmo ud T hiam. The allegations t hat Mr T hiam received
               preferential treatment or gifts or other financ ial benefit in exchange fo r promoting BSGR's




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               inte rests in Guinea are no nsense. He was scrupu lous in e nsuring that flights and hospit ality
               (e ither that we paid for o r that he took o n t he BSGR plane) we re only accepted in
               appropriat e circumstances. He d id attend my daughte r's wedd ing in Israel. He was o ne of
               at least 500 guests. The invitat io n, out of courtesy. had been made to t he Pres ident. He
               could not atte nd but sent Mr Thiam in his place.        The notion that Mr Thiam re ceived
               money that w o uld allow him to pay fo r properties in New York is similarl y nonsense. He
               did not receive this money or any mo ney at all from BSGR o r from me or from any e ntity
               associate d w ith e ither me or BSGR.


33.            Immediate ly afte r President Conte died, he was replaced by Captain Moussa Dadis Camara.
               I unde rstand from Mr Avidan t hat he, keen to e nsure that the new gover nme nt stood by
               the issue of t he expl oratio n permits for blocks I and 2 which had just been awa rde d to
               BSGR, arra nged to meet w ith Captain Camara after he took power, and t hat he introduced
               BSGR to Captain Camara and explained the go od work BSGR had done and planned to
               co nt inue do ing. Mr Avidan contacte d me afte r his meeting with Captain Camara, and said
               that t he new Preside nt had specifically requested that I go to Guinea to attend a big
               meeting.


34.            I therefore fl ew t o G uinea for t he meeting. even t ho ugh I had been there only two days
               beforeha nd. The meeting was he ld in a large auditorium in Guinea. Duri ng it, Captain
               Camara unexpect edly asked me to speak to the large crowd, w hich I accordingly did in
               Fre nch. I t o ld t he m of the good work that BSGR had do ne so far in Guinea with its mining
               rights and that it inte nded to continue th is wo r k. Captain Camara asked me, in fro nt of the
               crowd, w he the r BSGR would build a trans-Guinean railway. I answered t hat it wo uld. In fact
               it was our idea and we were very sincere abo ut, and comm itted, to it.


      C . PENTLER

35.            At t he beginning of 2008, as I became mo re involved, I became aware t hat there w as an
               issue between BSG R Steel Ho ldings Limite d ("BSGR Steel") and Pentler. I lear nt that Pe ntle r
               had introd uced BSGR to G ui nea and helped set up the o perations o n the gro und in 2006. In
               return for t his, Pe ntler had been given a free sha re ho lding in BSG Resources (Guinea)
               Lim ited, w hich was a BVI company ("BSG R Guinea (BVI)"). I considered t his all to be
               completely nor mal. (Carried inte rests of this type for people o r organisatio ns t hat had
               intro duced opportunities to BSGR o r other companies in the BSG group we re common) .
               The iss ue arose, however, because Pentler seemed to be under t he impression that it
               wo uld not have to contribute to the, now significant, capital requ irements of the Gui nea
               proje ct. BSGR St eel o bviously disagreed: it was not fair that Pentle r should own a share of a



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              proje ct that BSGR Steel alo ne was required to fund . I therefore turned my attention to the
              terms of the agreement BSGR had made with Pentler in 2006 under which it had been
              awarded a carry in the Simandou project .


    36.       I recall that the commitme nt for Pentler to participate in the funding of the project arises in
              the shareholders agreeme nt that was entered into between BSGR Steel and Pentler to put
              into effect the earlie r agreed carry arrangements in BSGR Guinea (BVI). 2            Clause 6.2
              governs furt he r funding and, under it, if the C ompany could not be funded by external
              borrowing, t he share holders had to fund it in the same proportio ns as their shareholdings. I
              remember that I spo ke to the BSGR dire ctors on this point, and they fu lly supported my
              view t hat Pentler needed to contribute.


    37.       G iven the significant increase in commitment the project now require d, I thought Pentler
              should begin to contribute its share.      It would not be fair for it to keep its fu ll carry
              othe rwise. Pentle r had been under the impression that they would not have to fund the ir
              share of the project and were clearly annoyed at what they saw as BSGR's change of
              position in this respect.


    38.       Until t his time I did not know the Pentle r peo ple at al l. They had been "silent" partners
              after they had introd uced BSGR to G uinea and he lped it set up the offices and all dealings
              with them had been conducted by others.           I anticipated, however, that they would be
              re lucta nt to give up their shareholding as they thought they had a very significant interest in
              a s ubstantial proj ect for which, up until then, they had had to pay o r risk nothing. I was
              right, but, in the e nd , Pe ntle r did not have t he resources required to meet their contractual
              obligatio ns to contribute and I led the negotiation of the buy out of their shares in BSGR
              Guinea (BVI) in March 2008. We conducte d the negotiat ion with Mr Nay. It was the first
              occasion on which I me t w ith Mr Nay and we established a decent working relationship. Mr
              Lev Ran was also involved in the negotiations to a limited extent. David Barnett was
              supporting me o n th e BSG side.


39.           In the e nd, the agreement was to buy o ut Pender's interest for US$22 million in four
              instalments: US$3 million on IS April 2008; US$ 1 million on IS June 2008; US$9 million o n
              IS April 2009; and US$9 mill io n on IS April 20 I0 (the "Pentler Share Purchase
              Agreement").3 The reason for this structure was t hat BSG R wanted to load t he deal for the
              latter part of the payment sched ule when the pro ject may have been revenue-generat ing, or


2
  Shareholders Agreement be tween BSGR Ste el, Pentle r and BSGR (Gu inea), date d 19 July 2007, (Exhibit R-
24).
3
  Share Purchase Agreeme nt be tween BSGR Steel and Pentle r, date d 24 March 2008, (Exh ibit R-28).



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                 at least closer to revenue-generating. or we may have secured third party investment.
                 Indeed, the agreement contemplates a third party investor which would have two possible
                 effects. First, if that investment covered the investment BSGR had made in the proje ct, it
                 would accelerate the payments agreed with Pentler. Second, if BSGR realised a profit of
                 US$1 billion Pentler would receive an additional payment of US$8 million, bringing the total
                 payment to US$30 million. It is important to note that, if the project ceased operation for
                 any reaso n, no payment, or further payment if any had been made a lready, wo uld be due to
                 Pentler.


    40.          This was a fair deal for both parties. Although Pentler had had a 17.65% interest in the
                 project, it could not afford to fund its stake. While it had performed an important and
                 valuable initial task for BSGR in introducing it to the country it was not fair that it e njoyed a
                 free ride - potentially benefitting e normously without any contribution other than the
                 o riginal introduction to the country. If a deal were done at US$1 billion Pentler would have
                 received 3% of the e nterprise valu e fo r no financial investment against the a nticipated
                 investment by BSGR which, at the time, it was clear was going to have to be well over
                 US$1 00 million.


    41 .         It has been drawn to my attention that clause 6 of the Pentler Share Purchase Agreement
                 says that Pentler's shareholders would "continue to advise and act as consultant for the period
                 of 5 years from signing date hereof'. 4 The situation as I understood it was that Pentler had
                 never been a consultant for BSGR in Guinea - it introduced the com pany to the country in
                 2005 and 2006 and then conducted no further work. The only time during which they did
                 perform what could be described as a consultancy or intermediary role for BSGR was from
                 20 I I onwards, when they facilitated an introduction between BSGR and a gen tle man called
                 Franc;ois de Combret, w ho t he n sought to mediate between BSGR and the GoG o ve r what
                 was t he n a developing dispute. I believe, fro m memory, however, that we wanted to keep
                 Pentler with us, as potentially future business o pportunities might have come up that we
                 would want to work with them on, and this clause was seen as a way to keep them onside.
                 It is a lso common in business to want to tie your former partners or operators to you and
                 preventing them from competing against you and I believe this clause may have been trying
                 to achieve that. I do not, however, believe we ever had any intention of them doing any
                 work, and my understanding was that they had not done any work for BSGR since the
                 initial introduction to Guinea and assis tance in setting up BSGR's office anyway.




4
     Ibid., p2



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 42.           In reality I do not think Pentler had any real choice but to sell their shareholding, although
               at the time they were obviously re luctant. I remember I was told by Mr Noy that Frederic
               Cilins was very much against doing the deal and felt strongly that Pentler should remain a
               shareholder. As it was, following this agreement the world went into recession and the
               price of commodities, including iron ore, dropped very significantly. It looked for a while
               like we may have made the wrong decision in buying Pentler out because it was difficult to
               imagine the potential for the project to actually make any money in that economic
               environment. Indeed, in 2008 and 2009, when the iron ore price was ruinously low and
               many mining companies found t hemselves on the brink of bankruptcy, the economic
               situation made the deal that Pentler had done look very attractive for them.


 43.           During the global financial crisis real estate prices fell dramatically along with stocks and
               shares and prices of commodities were simi larly significantly reduced - at one point, the
               price of iron ore fe ll to around $50/metric tonne. There was a serious liquidity crisis
               globally. Lemans Brothers collapsed. BSGR was certainly not immune to any of this, and nor
               were other mining companies: Rio Tinto, for example, was on the verge of bankruptcy. The
               two 2008 payments to Pentler were made, but BSGR was facing liquidity issues. On IS
               April 2009, BSGR did not pay the next payment of US$9 million. Pentler threatened to sue
               and even to treat the previous arrangements as "cancelled" and deal in the shares it had
               transferred t o BSGR the previous year.


44.            At around the same t ime, I understand from having reviewed contemporaneous documents,
               that BSGR had received a blackmail attempt from someone called Aboubacar Bah. I do not
               now have any clear memory of this, but I do not think that I had heard of Mr Bah before
               this.   Indeed, if his name was brought to my attention at the time, then I have no
               recollection of that now. I can see from the file that David Barnett was dealing with the
               issue internally and had instructed Skadden - principally to deal with Pentler, but an ancillary
               part of which seems to have been the Bah issue.


45.            Pentler instructed lawyers t oo in relation to the dispute over the unpaid instalments and
               there was an exchange of correspondence with Skadden. It became very heated.
               remember one very bad meeting and another call when I became extremely angry w ith Mr
               Noy and we were involved in a shouted exchange to the extent that my family re marke d on
               my agitation after I had come off the phone.        In the end matters we re resolved in a
               settlement agreement between BSGR and Pentler on 25 July 2009 (the "Settlement




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             Agreement").S On the same day Pender entered into an indemnity, indemnifying BSGR
             against any claim or complaint from Mr Bah for which it assumed complete responsibility.6


    46.      The settlement agreement recited the fact that the parties had agreed the price of US$22
             million for Pender's shares an d that the first US$4 million had been paid. It then set out
             new dates for payment of the balancing instalments of US$18 million. For its forbearance
             Pentler was, in effect, guaranteed payment of the first US$9 million of the indebtedness.
             The second US$9 million was, however, still subject to BSGR's operations in Guinea
             continuing.


    47.      Under the terms of the settlement agreement US$4 million was due to be paid within 3
             business days and it was duly paid. The balancing payments of US$ 14 million were not paid
             in accordance with the settlement agreement. By the time the next payment was due (3 I
             December 2009) it looked possible that a deal could be done with a third party to take a
             stake in the project. BSGR therefore served notice on Pentler that it was relying on the
             grace period set out in clause 4 of the Settlement Agreement, under which Pentler would
             not enforce non-payment of the 3 1 December 2009 tranche until IS April 20 I0.7


48.          In the end, after the Vale deal and after much discussion between me and Mr Noy it was
             agreed that Pender would receive another US$22 million (representing the balance of $14
             million plus the US$8 million bonus envisaged by clause 5 of the Pentler Share Purchase
             Agreement dated 24 March 2008), taking the entire amount it received to US$30 mi llion .
             There was an argument as to whether the additional US$8 million due under clause 5 of the
             Pentler Share Purchase Agreement was payable, because BSGR had not yet realised a profit
             in excess of US$1 billion. That said. BSGR had done well out of the Vale deal and it was my
             recommendation to BSGR that Pentler be treated generously for its contribution.
             Although it was BSGR that had taken the very significant risk and invested a large amount,
             Pentler had introduced BSGR to the country and had been patie nt.          Had it been able to
             hold onto its 17.65%, it would have earned far more. Further, an additional US$8 million
             was a relatively small amount considering the deal BSGR had just done with Vale. It agreed
             on I0 May 20 I0 to accept the US$22 million in full and final settlement of BSGR's
             obligations to it and this sum was paid on 17 May 20 I0.


49.          Pentle r did not, however, feel that the total of US$30 million was, in fact, fair despite having
             agreed to it.


5
  Settlement Agreement between BSG R Steel and Pender. dated 25 Ju ly 2009, (Exhibit R-33).
6
  Indemnity from Pen der to BSGR, dated 25 July 2009, (Exhibit R-34).
7
  Letter from David Clar k to Michael Noy and Avraham Lev Ran, dated 31 December 2009, (Exhibit R-46).



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    50.       Mr Noy came back to me shortly afterwards. I recall Mr Noy being extremely upset and
              arguing that BSGR had taken advantage of Pentler by buying back its shareholding for US$22
              million when in fact he said on the basis that the project as a whole was worth US$5 billion,
              Pentler's 17% was worth US$800 million . He asked for an additional payment of around
              US$20 million to settle the issue - which would give them a total of US$50 million which
              Mr Noy said was still a fraction of what they should have got. I believe he argued that this
              was based on the full amount of the original milestone agreement being due as well as the
              buyout of the shares. I regarded this request as ridiculous as Pentler had long before given
              up any rights to payment under the milestone agreement. (In fact, this was the first time I
              was ever even aware of there having been any type of milestone arrangement considered
              originally). We argued for a long time about it. I told him very clearly that the buy out had
              been negotiated fairly at the time, that throughout the economic crisis it was BSGR that
              looked like it had done a terrible deal and that Pentler had not been complaining then. They
              had never invested any money and had not taken the exploration risks we had. Now the
              situation had turned around but that was life. We had a tough and long negotiation over it.


    5 I.      I have reviewed the marked up milestone agreement that Mr Noy and I negotiated over,
              which is dated 16 July 20 I 0. 8 From reviewing this, Mr Noy was initially asking for an
              additional payment of US$19.5 million and that we eventually agreed on a further payment
              of US$4.5 million based on the milestones that had actually been achieved on each project.
              We agreed that the ringed milestones had been reached. In relation to the Simandou blocks
              I and 2, I remember that Mr Noy wanted the payment relating to the feasibility study to be
              included, despite that the feasibility study had not yet been completed. We negotiated over
              this point for some time, and eventually agreed that half the milestone amount of US$1
              million would be paid. I noted on the same piece of paper: "to be paid 3m - 20 I 0 I .Sm -
              20 II   = 4.5m$ ftnar',   initialled it and made a note that this agreement remained subject to
              the BSGR board's approval. Further to this agreement, two further payments were made to
              Pentler: US$3 million on 5 August 20 I0 and US$1 .5 million on 22 March 20 I I.


           D. DEMANDS FOR MONEY


52.           From my review of the contemporaneous documents and of the witness evidence in this
              case, it appears that Mr Bah had not ceased his blackmail attempts as at May 20 I0. I have no
              memory of this from the time. Like others, he had probably read about the Vale deal (which
              was very high profile and had received extensive coverage all over Africa and Europe) and
              thought he would be able to extort money from BSGR.             It seems that, for this reason,


8
    Annotated milestone agreement, dated 16 July 20 I 0, (Exhibit R-1 13).



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               BSGR insisted on the indemnity in relation to Mr Bah, this time from Mr Noy and Mr Lev
               Ran pe rsonally.9


    53.        I now understand from reviewing contemporaneous documentation and from discussing
               this case with BSGR's lawyers and employees that Mr Bah and Ms Toure had each sought to
               blackmail BSGR previously. I do not have any recollection of these blackmail attempts at all,
               although it is likely that I would have been told of Mr Bah's approach in 2009 at the time. It
               is not uncommon in this sort of project to receive blackmail attempts and , regrettably, very
               common in Africa, so it is not surprising to me that we received them, or that I do not now
               remember them. I either would not have been informed of them at the time, or, if I had,
               would have been dism issive of them.


    54.        It appears from the documents I have seen that Ms Toure attem pted to blackmail BSGR on
               8 June 20 I 0 - shortly after the Vale deal was announced.      I have no recollection of this
               from the time and feel certain that I did not deal with it.       I now know that Ms T oure
               irrevocably withdrew her claims at the time and agreed to destroy the "invented"
               documents attached to he r blackmai l attempt, only later to withdraw her withdrawal. I
               expect that it was not considered by Mr Avidan or Mr Struik at the time to have the
               credibility to warrant a conversation with me.


55.            So, I do not recall having heard of Ms T oure until much later, in March 20 12 when Mr
               Avidan reported to me about the meeti ngs he had had with W alter Hennig. This seemed
               to me to be quite a serious matter: what we considered to be a blackmail attempt had
               happened in Londo n, had come from a South African businessman and as a result of a
               meeting that had been set up through Lloyd Pengilly, of J.P.Morgan, who was one of the
               lead ing natural resources investment bankers at the time. He was therefore a man of great
               influence in mining in Africa. I knew him well because BSGR had a strong banking
               relationship with J.P.Morgan. I conferred with the BSGR directors and we agreed first, that
               BSGR should undertake an internal investigation into the allegations.      I was aware that if
               there had been any wrongdoing at all it would potentially je opardise the project. BSGR had
               operate d and does operate to the highest standards of governance for a private company
               a nd I was confident that no one amongst the senior personnel would have e ndangered the
               d eal or the company's reputation.      I could not guarantee, however, that something
               untoward had not happened somewhere in the system and therefore agreed with the BSGR
               d irectors that a thorough investigation should take place and that Pentler should be
               included in the enquiries. This investigation was undertaken by Daniel Pollak and did not


9
    Indemnity from Michael Noy and Avraham Lev Ran to BSGR Steel, dated I 0 May 20 I 0, (Exh ibit R-52).



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              unco ve r any w rongdoing. As described below, by this time, we had re-engaged with Pentler
              who were assisting us in introdu cing intermediaries for our discussions with the
              Government of Guinea. When Mr Hennig produced the forged contracts Pentler accepted
              responsibility for the issue and arranged for another withdrawal of the allegations by Ms
              T oure in May 20 12 10, which I thought at the time would be the end of the matter.


 56.          It was also agreed that BSGR should seek legal advice as to whether Mr Hennig's attempts
              to blackm ail BSGR s hould be reported to the criminal authorities. We went to see Ke n
              Macdonald QC, the former Director of Public Prosecutions in the UK.


 57.          The background to these efforts by Mr Hennig is set out in the witness evidence in support
              of BSGR's challenge of the UK's Serious Fraud Office's (SFO) decision to serve section 2
              notices on BSGR. 11 In particular, in Fe bruary 20 II , BSGR decided that it should not accede
              to President Conde's attempts to obtain significant payments relating to the project. The
              reaction to that refusal is also set out in Mr Cramer's statement and led, in the end, to the
              comme ncement of the Comite Technique process in October 20 12. Again Mr Cramer's
              SFO statement deals with all of the flaws and weaknesses in the DLA and Veracity reports
              and the evidence the Comite Technique relied upon. Other than to deal w ith specific items
              t hat relate to me I am not going to add anything further.


       E. MS TOURE


58.           Be fore I add ress any of the specific allegations made about me including in the various
              statements of Ms T oure, I shou ld give some overall context. If I have ever met Ms T o ure , I
              can o nly recall o ne occasio n w hen it may have happened, which was at a meeting with the
              President (Conte) which I describe at paragraph 30 above.         There were two or three
              younger women with him, o ne o f whom (not Ms T oure, as I recall) was introduced as a
              wife: the o the rs were mistresses. If she was there (and I am far from certain that she was)
              that was the only time I ever met he r. As I say above, the first time I can recall having
              heard her name was in relation to Mr Avidan's meetings with Mr Hennig in 2012. I cannot
              remember knowing of her before that - even if I had heard her name, it would not have
              meant anything to me.


59.           T urn ing now to some of the specific allegations that Ms Toure has made and that Vale has
              repeated in its Statement of Case. First it is said that there was meeting with Ms T oure and
              others in Guinea in 2006, at which I was supposed to have offered her 5% of BSGR's Guinea

10
  Affidavit of Mamadie Toure, dated 27 April 20 12, (Exhibit R- 114).
11
  Witness Statement of Dag Cramer in support of BSGR's Judicial Review Application, dated 25 November
2014. (Exhibit C-78).


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               company's assets. 12 This is not true. I did not travel to G uinea until 2008. Vale describes
               th is as an assertion. It is fact.   13   It follows, the refore that everything Ms Toure says about
               the meeting that was su pposed to have taken place and all of the events and promises that
               followed it are completely made up by her. On top of t hat, however, as I have already said, I
               did not know Ms T oure, I had no t heard of her and it is clear that BSGR did not have and
               never has had any commercial or contractual re lationship with her.


 60.           Ms T oure refers to another meeting that was s upposed to have taken place on 20 June
               2007.1 4 This is another lie. There was no such meeting. I had still not visited Gui nea by
               this time. The re was no deal of the nature described or at all.


 61 .          Ms T o ure describes a meeting that was supposed to have taken place w ith Pres ident Conte
               in Dubreka. 15 She does not put a date on the meeting.             For some reason, Vale says the
               meeting took place between February and July 2008.16 The meeting did not take place. I do
               not even know where Dubreka is.                 It is alleged that I gave the President a diamond
               e ncr usted car. I did not - on this occasion (which did not happen) or on any other. BSGR
               did produce a small model car with industrial diamonds in it as a corporate gift. T he
               wooden base of t he car has BSGR's name e ngraved in it. It is worth little - they cost a few
               hundred do llars to make - and was, in fact, a marketing device. They categorically were not,
               and have never been to my knowledge, used as an attempt to bribe anyone. It would be
               interesting fo r any com pany to try to bribe people using a relatively cheap marketing device
               t hat has the company's name stamped all over it. I will produce one of these cars for the
               Tribunal at the heari ng. The car was not given to President Conte or Ms Toure. One had
               been given in 2006 to the Ministry of Mines at a public event.


62.            As well as th is, Ms T o ure's description of my conduct at th is alleged meeting also illustrates
               t he falsity o f her acco unt. She says I offered the President money.'7 I pride myself on the
               propriety with wh ich I conduct myself. I also frequently meet with very many presidents,
               prime mi nist e rs, heads of state and senior government officials in my ambassadorial role. I
               know how to conduct myself and I have never offered money to any head of state,
               president, pri me minister or gove rnment official that I have met. Ms T oure's acco unt bears
               no relation to any conversation I have ever had, or wo uld dream of having, with any public




12
     SoC, pa ra 145 and Exh ibit C-6 p. 37, para 14.
13
     Benjamin Steinmetz pass port and flight documents, (Exhibit R-1 15).
14
     SoC, para 158 and Exhibit C-6 p39. para 17.
15
     Exhibit C-6 p. 39, paras 22 to 23.
16
     SoC, para 161.
17
     Exh ibit C-6 p. 39, para 23.



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               official. For the avoidance of any doubt, I never offered President Conte mo ney, whether at
               this meeting or at all.


 63 .          Ms Toure also says I arranged for her to be given two Land Cruisers, a necklace and a
               white gold chain. 18 Each of these allegations is also untrue.


 64.           Once we had received Ms Toure's statement to the US authorities from the Comite
               Technique, it was clear that BSGR would need to rebut the contents of her statement.
               Advice was taken and a line by line analysis was conducted, the relevant results of which
               form part of this statement. For example, in order to show that many of the meetings she
               referred to were made up, it was necessary to demonstrate that I had not travelled t o
               Guinea until 2008. We analysed my passports and the travel records of the plane I use. 19
               They showed that I had not been to Guinea until 2008 and that when the plane had been
               used to go to Guinea on previo us occasions I had been in London as shown fro m hote l
               receipts o r in Israel as shown by records obtai ned from the Israeli Interior Ministry.


 65.           It d id not occur t o me or anyo ne at BSGR that we should seek to speak to Ms T oure. Not
               o nly did we have no contact and no relationship with he r, it was plai n to us t hat there was
               little point in contacting Ms T oure and it wou ld have been extremely dangerous to have
               done so. In any event, Pentler had a relatio nship w ith Ms T oure, but BSGR did not. Pe nder
               saw that a problem that was entirely their issue was threatening adversely to affect BSGR's
               business. Mr Noy spoke to me and told me that Pe nder would make efforts to seek to
               persuade Ms T oure to tell the t ruth and withdraw, as she had done before, the untrue
               a llegations she was making. Even then, I hardly knew Mr Cilins and had no real relationship
               with him. All my dealings with Pende r had been with Mr Noy. I had met Mr Cilins on
               pe rhaps four o r five occasions, including during meetings with an intermediary that Pentler
               had introduced us to - Francois de Combret - through whom we we re tryi ng to explore
               whether a settle ment with President Conde would be possible. Mr Cilins brought us three
               different people, each of whom he suggested would be able to assist in brokering a deal -
               M. de Combret, Gaby Peretz and Michel Billard de Ia Motte. It is clear that Mr Cilins
               thought that if he could help us broker a deal he wo uld be able to ask us for a significant
               fee. I never met Mr Cilins alone. Had Pentler's efforts through M. de Combret led to th e
               project getting back on track I wo uld have advised BSGR to pay a fee. It would have been a
               very valuable contribution. Nothing, however, was properly discussed, let alone agreed. It
               was acknowledged there would be a discussion if and when there was a solution.


18
     Ibid., p. 39, paras 26 and 27.
19
     Exh ibit R- 1I S.



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 66.           So while I was aware that Pen tier was going to try to ask Ms T oure to restate the falsity of
               the allegations she had made and get her to withdraw them again, I never assumed that they
               would be able get her to withdraw the statements, or that such a withdrawal would lead to
               the end of the Comite Technique process. I accordingly advised BSGR that it needed to
               car ry o n dea li ng w ith the allegations contained in the Co mite Technique letter.


 67.           I did not offer money, through Mr Cilins or in any other way, forMs Toure to sign a further
               statement or destroy documents. Mr Cilins did not travel to America on my or BSGR's
               instructions - or with our authority. He was not authorised by me or BSGR in any capacity
               whatsoever. When I found out about his arrest I was as shocked and surprised as anyone.


 68.           As to the transcripts of Mr Cilins conversations with Ms Toure, I would say just one thing.
               (There is much more to say about the transcripts, but I will leave that to submissions from
               BSGR's lawyers).     It is a very common thing for people to speak as if they have my
               authority, when they do not. I have experienced it many times. People seek to improve
               their position in a negotiation by saying they know me, or have access to me or speak with
               my authority. In truth, no one does. I can't bind any company or organisation and only
               make recommendations or provide my advice. This is not a form of arrogance, it is just a
               statement of what often happens. I recognise that I have influence and people may seek to

               improve their position by claiming an association they do not have. This happens regularly
               when someone approaches me and says that someone else has said something in my name.
               There is little I can do about it - except to make it very clear when I do give authority to
               speak in my name. This was not one of those occasions. I repeat. Mr Cilins did not travel
               to speak to Ms T oure with my authority, on my be half or on behalf of BSGR or anyone
               associated with BSGR.


       F. THE NEGOTIATIONS W ITH VALE


69.            Turning now to the deal with Vale, there was plenty of interest in the Simandou project.
               BSGR was engaged in talks with various third parties about the project, including Chinalco.
               Once we had ceased discussions with the Libyan Investment Authority and Chinalco, we
               were in active discussions with Baosteel. Although I now know that there had been some
               emails a little earlier, for me, Vale's interest came following the lndaba conference in
               February 20 I0, after which Vale conducted a site visit of Simandou blocks I and 2. After the
               site visit, although I am not sure exactly when, Eduardo Ledsham met with me and Mr
               Cramer in London and suggeste d a deal. I now cannot recall the details of what he
               suggested, but I do remember that I countered w ith a proposal similar to the deal which
               was eventually done. Mr Ledsham said he would have to discuss it with the Vale



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               management. He came back the next day and said that Vale was indeed interested in a deal
               on t hose terms.


 70.           From t hat expression of interest unti l completion BSGR and Vale worked at great speed to
               get the deal done. As can be seen from the deal that was done, it suited both parties.
               BSGR was not desperate to sell and would have found other counterparties if the Vale deal
               had not come off, but, all the same, we were more than happy to partner with Vale who
               had the balance sheet and experie nce to take the project forward. In fact, the negotiations
               went very wel l. Although intense, they were conducted in a cooperative and constructive
               spirit. The deal meant much more to us than the $500 million payment: we also saw it as a
               deal to secure the project in the long term. Only a large corporate w ith a strong balance
               sheet had the fi nancial capability to commit the US$1 0 bil lion plus and complete the project.
               Acco rd ingly, the greatest success of the deal for BSGR was that Vale committed to
               provid ing the fu nds, even though the cost of that funding was so high at 16%.


 7 1.          I was involved in the headline commercial negotiations, although my contributions, as
               always, remained subject to the board's approval and I made that clear to Vale several
               t imes.    The deal was very intensive and the BSGR team spent many hours and days in
               meetings with Vale and with the two teams of lawyers first in Brazil and then in London.
               Negotiating and getting deals done is one of the areas where I am able to provide real value
               for the SSG group and I accordingly played a role in these negotiations with Vale. BSGR
               board members, such as Mr Cramer, were fu lly involved and the board was kept updated
               constantly.    T he BSGR "team" was split and different people were involved in different
               strands.    Mr Struik, for example, was dealing with all of the technical issues while Yossie
               T chelet dealt with the financial due di ligence. I wou ld have had nothing to add to these
               conversations and was not involved with them.


72.            I attended t he initial meetings w ith Vale in Rio de Janeiro in March 20 I0.          Daniella
               Chimosso dos Santos, Vale's senior lawyer, was in all of the meetings but the focus was
               always commercial. As one would expect, these meetings were cordial and concentrated
               on the business opportunity. The impression Vale gives of them in their statement of case,
               that the sole or main content of the discussions surrounded how BSGR obtained its
               licences and FCPA type enqu iries, is entirely false.   Had that been the principal topic of
               conversation it is unl ike ly that negotiations would have progressed very far given the tone
               that that would have set. Instead we spoke about the opportunity. Vale was as keen to
               impress as BSGR was, if not more so. They took every opportunity to tell us about their
               operating and marketing capacities and wanted to give the impression that they we re the




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              best in the world. They were also keen to explain that they were knowledgeable about the
              geology of the Simandou region because of the geological similarity to its Carajas mine in
              Brazil - which the BSGR team, at Vale's invitation, went to visit .


 73 .         In addition I met with Roger Agnelli, then Vale's CEO, several times. We got on well and

              discussed t his deal as well as several other possible deals between Vale and BSGR. Mr
              Agn elli, Jose Martins, C lovis T orres and other senior managers were all very complimentary

              about the work BSGR had done on th e ground in Guinea. They told us that we had done a
              world class job in a very short time.     Shortly after we had completed the Vale deal, Mr

              Agnell i, Mr Etchart, Mr Cramer and I took a trip to Panama togeth er where we dined with

              the President in o rd er to discuss a possible Panaman ian copper project that BSGR had

              sourced previously and had already spent time and money looking into. I had suggested it

              to Mr Agnelli as another deal BSGR and Vale could do together. Mr Agnelli told me that he

              had looked at the mine twice already and rejected it each time. However, he said that
              because I had asked he would look at it again, and make the effort to come to Panama with

              Mr Etchard to have dinner with the Panamanian President. We got as far as signing a
              memorandum of understanding with Vale in relation to this deal, although it then did not go

              ahead because there was, if I remember correctly, some kind of land rights dispute with

              local people around the mine. I was also invited to the opening of Vale's coal mine in
              Mozambique where I was presented to the President of Mozambique as Vale's esteemed

              partner in its Guinea project and BSGR brought to their attention other possible deals,
              including, for example, in Africa, Ru ssia and Kazakhstan. Relations between me and Mr

              Agnelli, and between Vale and BSGR more generally, were very friendly and cooperative

              and there was plenty of goodwill. Indeed the collaboration between a very large
              corpo ration and a smaller com pany with an entrepreneurial spirit was a gr eat combination.


74.           Lat er, once the Government of Guinea started its campaign against us and before he w as

              replaced, Mr Agnelli called me to tell me that George Sores had just called him. It was

              soon after Rio Tinto had paid US$700 million to stay in Guinea. Mr Sores asked Mr Agnelli

              to meet him and Mr Agnelli wondered w hether I should go with him but, in the end, went

              alone. He reported back to me that Mr Sores had told him that the Simandou project was

              in jeopardy but that the issue could be solved by paying the government US$500 million.
              Mr Agnelli want ed to know w hat I thought. I told him that I would recommend refusing
              that deal - or anything like that. BSG R had done nothing wrong. Rio Tinto, on the other
              hand, did not have a licence and had behaved terribly while they were in Guinea which
              were reasons why t hey had no cho ice but to pay if they wanted to stay in or return to th e
              coun try. N ot o nly had we acquired all our rights properly, we were committed to investing




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               US$1 billion into the country in respect of the Trans-Guinean railway. as well a fu rther
               US$1 0 billio n in the project itself. We should not be extorted to pay any more.


 75.           Vale refers to rumours abo ut my re putation in the diamond business in Africa.2o T hey do
               not subst antiate the allegations.    I believe I and our diamond business have an excellent
               reputatio n and know of nothing that wo uld suggest otherwise. In any case, t his was not
               me ntione d to us at the time and I can o nly imagine Vale refer to it now simply to attempt
               to discred it BSGR.


 76.           The FCPAIABL due diligence was an important strand of a deal that contained many strands
               o f work. It was no more promine nt than normal in this type of deal. In any case. BSGR and
               I were o nly too happy to answer the questions and provide the info rmation and comfort
               required.


 77.           As to my involvement in this aspect of the deal. I remember, of course, being asked to sign
               and signing the anti-bribery certificate that was required by Vale.          I do not specifically
               reme mber signing the document itself but am confident that I read it at the time as I would
               have realised it was an important docume nt. I also wo uld have taken advice o n its contents
               from o ur lawyers o n the deal, Skadde n. Looking at it again now, I was quite correct to sign
               it. Based on my knowledge both then and now, it is true.


 78.           The only other aspect of the negotiations that related to the FCPA issues that I recall was a
               sho r t de liberation that I participated in about whether the Pentler relationship should be
               disclosed. I cannot remember if it was someone from t he BSGR side or Skadden t he mse lves
               who mentioned it first. Skadden knew the relationship we had with Pentler because they
               had advised on the dispute I refer to above. I was ambivalent as to whether Pentler should
               be disclosed, and list ened to the advice that was given. The advice was that we did not have
               to disclose t he relations hi p. They were our fo rme r partner and shareholder in the business
               a nd t he existence of a minority shareholder in the business was a matter of record fro m
               the accounts a nd elsewhere. As to Ms T oure or lbrahima T oure o r the Pentler owne rs as
               ind ividuals, that question did not even occur to us. There was never a relationship with Ms
               Toure . The on ly re lationship with Mr Toure was as an employee (and this was disclosed).
               And the re was no re lationship with the Pentler owners as individuals - only wit h Pentler
               itself. In any case, had the advice been to disclose the re lationship w ith Pe ntler, that is what
               would have been done.


       G. VALE AND THE GOVERNMENT OF LIBERIA

20
     SoC. para 55 and Witness Statement of Alex Monteiro, dated 29 January 2015, paras 36 and 37.


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 79.           The negotiations between VBG and the Government of Liberia ("Gol"), and Vale's
               unilateral withdrawal from those negotiations in the summer of 20 I I, is explained in de ta il
               in Mr Pollak's witness statement. I remember that I went to one meeting with the Liberian
               President and Vale early o n in the negotiations. We spent the day together and had a very
               good discussion. Later on, Mr Martins told everyone that Vale wanted to gain control over
               the global reserves of the high quality iro n ore that had been discovered in Simandou and
               said that the worst thing that could happen for the mining industry would be if the Ch inese
               obtained control. He explained that even if t he iro n ore market d roppe d significantly the
               higher quality iron ore would sti ll have a profitable market in China. T his was because for
               every two ton nes of the Austral ian low grade ore that was sold to China, the Chinese also
               had to buy one tonne of the high grade ore for their blending processes. Mr Martins was
               extremely bullish on price and said that this type of ore would not drop below $1 00/metric
               tonne in the future.


 80.           I was late r asked to get involved in the issue of the negotiations wi th the Gol in August
               20 I I, when it was clear that Vale had withdrawn from the negotiations and t he BSGR board
               was keen to find a way to bring them bac k to the table. The route through Liberia was
               absolute ly key to the commercial and practical success of the project, and Vale seemed to
               be jeopardising it by refusing to e ngage with the GoL for no apparent reason. BSGR
               speculated that the reason that Vale was refusing to engage with it was because, had the
               Liberian route been formally agreed, it wou ld have had to pay BSGR the next tranche of
               US$500,000,000 under the joint venture agreement. I believed that assessment t o be
               correct. I now wo nder whether Vale intended at this time to go ahead with the project at
               all, or if their main motivation was to keep the iron ore in the gro und and prevent any
               other company from gaining co ntro l of it.


8 1.           Once I looked at the situatio n I concluded Vale were not acting in the best interests of VBG
               a nd the project and t hat Vale's CEO had adopted a new strategy of burying the project by
               refusing to take any steps to progress it.     Vale we re acting in bad faith and had effectively
               "killed" the project for reasons that had nothing to do with the project's underlying viability,
               but everythi ng to do with a corporate change of heart and a pressure from within Brazil. It
               was bizarre to me.


82.            I have seen paragraph 38 of Ricardo Saad's witness statement, in which he says that
               Preside nt Conde refused to allow me to sit at his table during the ground-breaking
               ceremony regarding t he start of VBG's work o n repairing the Ka nKan railway, and that I




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               was angry about this. 21 I am surprised that Mr Saad has sought to bring up such a petty
               incident. In any event, this is not an accurate description of what happened at that event.
               Vale organised the event and I believe that it may have been Mr Saad himself who organised
               the seating arrangements. Vale positioned their key people, including Mr Saad and Mr
               Agnelli. at the table with the President and seated BSGR, including me, at another table. I
               expect that this was reflective of Vale's wish to position itself as the leaders of VBG in
               Guinea, and to show that BSGR, as the junior partner, was less important. This is classic
               behaviour in the big companies and the dominant partners in joint ventures: they do not
               want small companies or junior partners running around asking questions and making
               suggestions about how to do things better, more efficiently or cheaper. I do remember that
               Mr Avidan was upset by the incident and told Vale so. I was not that upset at all - I do not
               mind where I sit as long as the project is taking place. Mr Agnelli afterwards apologised to
               me for the seating, which he also thought was of Vale's doing. Vale later said that the
               instruction for it came from the Guineans. I do not know whether that was true or not.
               Even if that was the case, it is clear from what came later that President Conde intended to
               remove BSGR from Guinea at any cost, and had done an illicit deal with South African
               business interests to that effect, so it is of no consequence whether he refused to sit with
               us or not.


        H. CONCLUSION

83.            As I said at the beginning of this statement, the allegations of wrongdoing against BSGR a re
               entire ly fa lse. They have been drawn from a deeply unreliable woman, who has embellished
               and in many cases simply created entire stories abo ut BSGR which are entire ly wrong.
               President Conde, keen to remove VBG from its rights in Simandou so that he could
               distribute them in satisfaction of his various illegal election debts, has seized upon Ms
               T cure's claims, saying that they evidence a prima facie case against BSGR. They do not.


84.            For its part, following a change of management in the wake of Mr Agnelli's departure, Vale
               changed its mind and decided that a US$ 10 billion investment in a risky region was one they
               could ill afford. They started trying to withdraw from the deal, initially by refusing to
               complete the agreement with Liberia for the on ly transport route available that would make
               the project economically viable, and then cooperating w ith the government of Guinea's
               review procedure wh ich was patently unfair and o bviously predete rmined. I expect they had
               decided by this time that it was better to cut their losses and try to maintain a relationship
               with the Guinean government than it was to stand by their joint ve nture partner and fight


21
     Witness Statement of Ricardo Saad. dated 29 January 2015, para 38.


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              expropriation. This was brought home to me by the fact that Ville filed its request for
              arbitration less than a week after the withdrawal of our rights.


   85.        The result of all this is not o nly that seven years of hard work and investment has been
              wasted, and that VBG's assets in Simandou have been expropriated, but also that President
              Conde's campaign against me and against BSGR has catastrophically damaged both our
              reputations to the enormous detriment of his own people.




     .
   I confirr; this                   to the best of        knowledge and belief.



               _--\.                ./
  Benjamin Ste\metz


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